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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 KNIGHT FIRST AMENDMENT
 INSTITUTE AT COLUMBIA
 UNIVERSITY,

                Plaintiff,
                                                           Oral Argument Requested
        v.
                                                           Civil Action No. 1:17-cv-00548-TSC

 DEPARTMENT OF HOMELAND
 SECURITY, et al.,

                Defendants.


               PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITY

       Plaintiff the Knight First Amendment Institute at Columbia University (the “Knight

Institute”) respectfully notifies this Court of the recent decision in Judicial Watch, Inc. v. United

States Department of Justice, 20 F.4th 49 (D.C. Cir. 2021) (attached as Exhibit A). In that case,

as here, the agency invoked the deliberative process privilege under FOIA Exemption 5 to redact

and withhold documents in response to a FOIA request. The district court initially denied the

Department of Justice’s (DOJ) motion for summary judgment without prejudice, explaining that

it had not met its burden with respect to the FOIA Improvement Act and declining to decide

whether any withholding under Exemption 5 was ultimately proper. Judicial Watch, Inc. v. DOJ,

No. 1:17-cv-832, 2019 WL 4644029, at *3–5 (D.D.C. Sept. 24, 2019). On the DOJ’s second

motion for summary judgment, the district court held that the documents were properly withheld

under the exemption. Judicial Watch, Inc. v. DOJ, 487 F. Supp. 3d 38, 45–48 (D.D.C. 2020).

       The D.C. Circuit has now reversed that decision. The appellate opinion reaffirms that to

fall within the deliberative process privilege, the agency must show “(1) what deliberative process

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is involved, and (2) the role played by the documents in issue in the course of that process,” and

should also articulate “(3) the nature of the decisionmaking authority vested in the officer or person

issuing the disputed document, and (4) the relative positions in the agency’s chain of command

occupied by the document’s author and recipient.” Id. at 55 (quoting Senate of Puerto Rico v.

DOJ, 823 F.2d 574, 585–86 (D.C. Cir. 1987) (internal quotation marks omitted)). Emphasizing

the “inadequacy” of the DOJ’s declaration (only two sentences of which addressed Exemption 5),

the D.C. Circuit’s decision makes clear that an agency is not entitled to withhold information under

the exemption unless it adequately explains “the ‘who,’ i.e., the roles of the document drafters and

recipients and their places in the chain of command; the ‘what,’ i.e., the nature of the withheld

content; the ‘where,’ i.e., the stage within the broader deliberative process in which the withheld

material operates; and the ‘how,’ i.e., the way in which the withheld material facilitated agency

deliberation.” 20 F.4th at 56.

       As the Knight Institute has explained, the justifications offered by the agencies in this case

fall short of what the law requires. See Pl.’s Br. at 12–16, ECF No. 50-1; Pl.’s Reply at 1–8, ECF

No. 60. Among other failures to document the “who, what, where, and how” necessary to invoke

the exemption, the Department of Homeland Security merely parroted the applicable legal standard

and failed to identify any final policy or decision in service of the three challenged withholdings.

See Pl.’s MSJ Reply Br. at 3–6.; see also Judicial Watch, 20 F.4th at 56 (explaining that the

government’s declaration failed to identify the deliberative process involved or describe the

record’s role in that process). U.S. Customs and Border Patrol (CBP) provided an even more

attenuated description of the spreadsheet data it seeks to withhold, claiming only that the

spreadsheet “contains information that might someday be used to make policy recommendations.”




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Pl.’s Reply Br at 7 (emphasis added). Under Judicial Watch v. DOJ, these agencies have failed to

satisfy their burden to demonstrate that the withheld documents are deliberative.



 Dated: January 24, 2022                                Respectfully submitted,

  /s/                                                    /s/
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